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               12      Inc.

               13
                                                 UNITED STATES DISTRICT COURT
               14
                                              NORTHERN DISTRICT OF CALIFORNIA
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               16
                       Yangtze Memory Technologies Company,           CASE NO. 5:24-cv-3454
               17      Ltd. and Yangtze Memory Technologies, Inc.,
                                                                      COMPLAINT
               18                       Plaintiffs,
                                                                      DEMAND FOR JURY TRIAL
               19             v.

               20      Strand Consult and Roslyn Layton,

               21                       Defendants.

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                                                                                              COMPLAINT & DEMAND
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                                                                                                   FOR JURY TRIAL
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                   1            Plaintiffs Yangtze Memory Technologies Company, Ltd. and Yangtze Memory

                   2   Technologies, Inc. (collectively, “YMTC” or “Plaintiff”), by and through their counsel, brings this

                   3   lawsuit against Defendants Strand Consult and Dr. Roslyn Layton (“Defendants”). YMTC’s

                   4   Complaint is based on the following allegations, which YMTC makes on personal information as

                   5   to its own acts and on information and belief as to all others based on its reasonable investigation.

                   6                                     NATURE OF THE ACTION

                   7            1.      YMTC is one of the world’s most innovative developers and manufacturers of 3D

                   8   NAND flash memories. Although a relative newcomer, YMTC has developed and patented

                   9   technologies that enable the production of better flash memories, having more capacity and a lower

               10      per-bit cost. YMTC’s innovations have not gone unnoticed. In 2018, for example, YMTC

               11      received the award for the Most Innovative Flash Memory Start-up Company from the Flash

               12      Memory Summit in Santa Clara, CA, which “recognizes the most creative and ambitious startup

               13      companies and applauds their entrepreneurial journey to becoming a market disruptor and

               14      champion of the storage industry.” Since then, YMTC has continued to innovate. In 2022, YMTC

               15      received the award for Most Innovative Memory Technology for YMTC’s Xtacking® 3.0 3D

               16      NAND Architecture from the Flash Memory Summit in Santa Clara, CA.

               17               2.      No longer an upstart, YMTC has become a key player in the global 3D NAND

               18      market. In November 2023, TechInsights Inc., which analyzes and tracks the flash memory

               19      market, concluded that “[w]hat YMTC has accomplished has been nothing short of amazing”—

               20      YMTC “is now the leader in 3D NAND flash,” having “leap-frogged Micron,” another major

               21      player in the 3D NAND space.1 Micron is threatened by YMTC’s ascension.

               22               3.      Rather than compete fairly in the marketplace, Micron set out to undermine

               23      YMTC’s achievements by spreading lies about YMTC and its products.                  As reported by

               24      Bloomberg in an article titled “Dell, Micron Backed a Group Raising Alarms on Rivals’ China

               25      Ties,” Micron funded a website called “China Tech Threat” or “CTT” run by Defendant Strand

               26      Consult—also aptly known as Dialog Management—and its Executive Vice President, Defendant

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                           https://www.techinsights.com/disruptive-event/ymtc-232l-tlc-3d-nand.
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                   1   Roslyn Layton.2 While China Tech Threat purports to be focused on policy, according to

                   2   Bloomberg, China Tech Threat is actually engaged in “astroturfing,” the practice of cleverly

                   3   disguising the corporate messaging of companies (like Micron), as grassroots advocacy.3 Indeed,

                   4   Strand Consult’s corporate records show that its business is public relations, market research, and

                   5   management consulting—not public policy. And its annual reports state that its “purpose is to

                   6   operate trade and industry, including consultancy.” As Bloomberg reports, Strand Consult has

                   7   also targeted another Chinese company, Lenovo at the behest of Dell, spreading the fantastical

                   8   claim that Lenovo’s co-sponsorship of a video game tournament at a U.S. Navy base is “evidence”

                   9   that it had “infiltrated” military facilities.4

               10              4.      As early as September 2020, China Tech Threat began broadcasting and

               11      disseminating outlandish and demonstrably false statements about YMTC and its products as part

               12      of its “astroturfing” campaign. China Tech Threat even manufactured and then broadcast a claim

               13      that “YMTC is associated with criminal activity, including a Social Security spoofing scam,

               14      identity theft and cyber extortion.” There is no basis whatsoever to support that fiction; China

               15      Tech Threat made it up. Indeed, Defendants’ China Tech Threat’s website includes a page titled

               16      “China’s Army to Infiltrate iPhones with YMTC Chips” dedicated to spreading falsehoods

               17      ultimately inuring to Micron’s commercial benefit. On June 8, 2022, China Tech Threat published

               18      a report on its website titled Silicon Sellout: How Apple’s Partnership with Chinese Military Chip

               19      Maker YMTC Threatens National Security (“CTT Report”), co-authored by Strand Consult’s

               20      Executive Vice President, Roslyn Layton. The CTT Report repeatedly implores “Apple [to]

               21      voluntarily end its partnership with YMTC” and “source its chips from existing suppliers like

               22      Micron[.]”5 It warns that “the Apple-YMTC deal will likely hasten the exit of an existing memory

               23      chip maker from a democratic country” and “could put at least one major non-Chinese

               24      semiconductor producer out of business”—highlighting that “[t]he only American company”

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                         See Ex. 1 (https://www.bloomberg.com/news/articles/2024-01-25/dell-micron-backed-a-group-
               26      criticizing-chinese-rivals).
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               27        See Ex. 1.
                       4
                         See Ex. 1.
               28
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                         Ex. 2 (CTT Report) at 2.
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                   1   leading the memory market is “the Idaho-based Micron, which makes both DRAM and NAND

                   2   chips.”6

                   3           5.       The CTT Report falsely claims that “YMTC chips equipped with spyware and

                   4   installed on Apple devices could funnel collected data back to Beijing” and “exfiltrate data”

                   5   thereby “[c]ompromising iPhone users’ security and privacy.”7 That is pure fiction. YMTC’s

                   6   memory devices store “bits,” zeros and ones. Memory devices—YMTC’s or otherwise—cannot

                   7   execute code to “funnel” or “exfiltrate” data to Beijing or elsewhere. Memories lack the most

                   8   basic components necessary for remote control and wireless communications—e.g., antennas,

                   9   modems, RF processors and more. Defendants know their outlandish statements about YMTC’s

               10      memories are lies; they’ve worked in the wireless communications industry for decades.

               11              6.      The CTT Report also falsely brands YMTC as a “Chinese Military Chip Maker” to

               12      further propagate the myth that YMTC’s memory products pose security and privacy risks to U.S.

               13      consumers.8 But YMTC is not owned or controlled by the Chinese military. YMTC has never

               14      supplied its technology or products for any military use. And YMTC has never been directed by

               15      any entity to supply its technology or products for military use. Defendants knew (or, at a

               16      minimum, recklessly disregarded) the falsity of its baseless statements. One “source” to which the

               17      CTT Report cites to support its claims of YMTC’s alleged “ties” to the Chinese military is an

               18      article written by Roslyn Layton—the Executive Vice President of Strand Consult who is herself

               19      an author of the “Silicon Sellout” article—thereby creating an echo chamber of misinformation

               20      and completing its circle of lies.9

               21              7.      The falsehoods spread by Defendants, through China Tech Threat, have caused

               22      irreversible harm to YMTC’s reputation and business relationships. They have also hurt U.S.

               23      consumers. 3D NAND flash memory is vital technology for many of the digital products that

               24      consumers have come to depend upon and enjoy, such as smartphones, laptops, and tablet

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               26      6
                         Ex. 2 at 3-4, 6.
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               27        Ex. 2 at 2, 4-9.
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                         Ex. 2 at 8-9.
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                         Ex. 2 at 3, 17.
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                   1   computers, as well as for the data centers and enterprise storage solutions in which 3D NAND is

                   2   used. Competition and innovation in the NAND memory space benefit consumers, as competition

                   3   and innovation lead to better products at better prices. Attempts to stifle competition and hinder

                   4   innovation do neither.

                   5          8.      YMTC respectfully asks this Court to put a stop to Defendants’ illegal campaign of

                   6   spreading misinformation about YMTC and YMTC’s products through China Tech Threat and

                   7   elsewhere and compensate YMTC for the harm caused by Defendants’ lies.

                   8                                             THE PARTIES

                   9          9.      Plaintiff Yangtze Memory Technologies Company, Ltd. is headquartered in China

               10      and maintains a principal place of business in Wuhan, China.

               11             10.     Plaintiff Yangtze Memory Technologies, Inc. is a wholly owned subsidiary of

               12      Plaintiff Yangtze Memory Technologies Company, Ltd. Yangtze Memory Technologies, Inc. is

               13      a California corporation with its principal place of business in this judicial district, at 2953 Bunker

               14      Hill Lane, Ste. 206, Santa Clara, California.

               15             11.     Upon information and belief, Defendant Strand Consult is headquartered in

               16      Denmark, and maintains a principal place of business in Copenhagen, Denmark. Strand Consult

               17      is also known as Dialog Management. Strand Consult launched the China Tech Threat webpage.

               18             12.     Upon information and belief, Defendant Roslyn Layton resides in and owns a home

               19      located at 957 8th Street S., Naples, Florida. Defendant Roslyn Layton has listed that address in

               20      Naples, Florida on letters sent on behalf of China Tech Threat. Defendant Roslyn Layton is

               21      currently actively registered to vote in Florida. She is a co-founder of the China Tech Threat

               22      website and Executive Vice President of Strand Consult.

               23                                       JURISDICTION AND VENUE

               24             13.     This Court has personal jurisdiction over Defendants. Defendants launched and

               25      maintained the China Tech Threat website at http://chinatechthreat.com/, which is accessible in

               26      this judicial district and the United States. Its content is explicitly directed to audiences in this

               27      juridical district and the United States. For example, the CTT Report repeatedly calls on “Apple

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                   1   [to] voluntarily end its partnership with YMTC.”10 The CTT Report also falsely warns consumers

                   2   (including those in this judicial district) that YMTC memories “[c]ompromise iPhone users’

                   3   security and privacy” and “presents the possibility that malicious technology and practices from

                   4   the Chinese military could be introduced to Apple end-users and others.”11

                   5           14.      Defendants’ China Tech Threat website includes a webpage with the heading

                   6   “China’s Army to Infiltrate iPhones with YMTC Chips” that is devoted to spreading defamatory

                   7   and libelous statements about YMTC and YMTC’s products. That webpage is accessible in this

                   8   judicial district and the United States. The China Tech Threat website also provides a link for

                   9   users in California and the United States to download the article “Silicon Sellout,” which contains

               10      the defamatory and libelous statements about YMTC that are the subject of this action. Further,

               11      Strand Consult’s China Tech Threat webpage collects information about visitors, via “cookies,”

               12      including those in the United States and California. The China Tech Threat website stores that

               13      information in facilities in the United States.

               14              15.      Employees of Strand Consult routinely engage in business travel to and within the

               15      United States.

               16              16.      In 2022, Plaintiffs were engaged in discussions with numerous potential customers

               17      headquartered and/or located in the Northern District of California. Plaintiffs’ sales personnel

               18      responsible for those client relationships—which have been suspended and otherwise damaged

               19      following Defendants’ defamatory and libelous statements—were located in Plaintiffs’ Santa

               20      Clara offices in this judicial district. For years, Plaintiffs’ sale, field engineering, and quality

               21      teams, including its director of sales, routinely travelled to this judicial district to meet and work

               22      with potential customers and technical partners located and headquartered in the Northern District

               23      of California. Following Defendants’ defamatory statements made in the summer of 2022,

               24      relationships between Plaintiffs and customers, potential customers, and technical partners

               25      headquartered and/or located in this judicial district ended between October and November 2022.

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                          Ex. 2 at 2, 12.
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                          Ex. 2 at 2-3; see also id. at 8-9.
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                   1           17.     Defendants are subject to personal jurisdiction in California at least because (1)

                   2   Defendants published false, misleading, and defamatory statements that were expressly aimed at

                   3   California and California persons; (2) Defendants directed their intentionally injurious acts

                   4   towards a company and its wholly owned California subsidiary, and to cause harm to that

                   5   California subsidiary; and (3) the brunt of the harm suffered by Plaintiffs and caused by

                   6   Defendants’ conduct occurred in California, for example, through the loss of customers, potential

                   7   customers, and technical partners located and/or headquartered in the Northern District of

                   8   California.

                   9           18.     This court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

               10      1332 because it is an action between citizens of different States and in which citizens of foreign

               11      states are additional parties, and the amount in controversy, exclusive of interests and costs,

               12      exceeds the sum or value of $75,000.

               13              19.     Yangtze Memory Technologies, Inc. is a citizen of California and Roslyn Layton

               14      is a citizen of Florida and Yangtze Memory Technologies Company Ltd. and Strand Consult, as

               15      citizens of foreign states, are additional parties.

               16              20.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because a

               17      substantial part of the events or omissions giving rise to YMTC’s claim occurred in this judicial

               18      district, Yangtze Memory Technologies, Inc’s principal place of business is within this district,

               19      Defendants have targeted their wrongful acts at YMTC, and because this Court has personal

               20      jurisdiction over Defendants as discussed above.

               21                                         DIVISIONAL ASSIGNMENT

               22              21.     Pursuant to Civil Local Rule 3-2, this action is to be assigned to the San Jose

               23      division because a substantial part of the events or omissions giving rise to the claim occurred in

               24      the county of Santa Clara, California.

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                   1                                    FACTUAL ALLEGATIONS

                   2        YMTC Is Widely Recognized As One Of The Most Innovative And Exciting 3D NAND
                                                 Memory Companies In The Industry
                   3

                   4           22.      YMTC is an integrated device manufacturer (IDM) dedicated to the development

                   5   of memory products for the global market. YMTC employs more than 7,400 employees—

                   6   including 5,600 engineers and 1,700 employees engaged in research and development. Over 300

                   7   YMTC employees hold PhDs.

                   8           23.      With a focus on the design of superior 3D NAND flash memory, YMTC’s

                   9   innovations have gained significant recognition in a short amount of time. YMTC has succeeded

               10      in designing and manufacturing 3D NAND flash memories with bit densities, input/output speeds,

               11      and capacities that are highly praised in the industry. YMTC maintains ties to Silicon Valley

               12      through a wholly owned subsidiary, Yangtze Memory Technologies, Inc., incorporated and located

               13      in this judicial district.12

               14              24.      The Flash Memory Summit has recognized YMTC’s 3D NAND Chips as the “Best

               15      of Show” for “Most Innovative Flash Memory Start-up Company.”13 The Flash Memory Summit

               16      hosts up to 6,000 individuals and companies, including on average 100 global sponsors, and is the

               17      largest collection of flash memory experts.14 In 2018, the Flash Memory Summit held in Santa

               18      Clara, California, recognized YMTC as among “the most creative and ambitious startup companies

               19      and applaud[ed] their entrepreneurial journey to becoming a market disruptor and champion of

               20      the storage industry.” In 2022, the Flash Memory Summit recognized YMTC’s Xtacking® 3.0

               21      3D NAND Architecture as the “Most Innovative Memory Technology.” YMTC innovations have

               22      resulted in “the world’s most advanced 3D NAND memory chip in a consumer device,” having

               23      “the highest bit density seen in a commercially available NAND product.”15

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                          https://www.ymtc.com/en/contact.html.
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                          See https://apnews.com/press-release/globe-newswire/technology-
               26      business472edca95b4b227a486f5f8c4750cbb3.
                       14
                          The Flash Memory Summit is “the world’s largest event featuring the trends, innovations, and
               27      influencers driving the adoption of flash memory in demanding enterprise storage applications,
                       as well as in smartphones, tablets, and mobile and embedded systems.”
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                       15
                          https://www.techinsights.com/blog/china-does-it-again-nand-memory-market-first.
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                   1          25.     As a result of YMTC’s innovative and cutting-edge design of 3D NAND flash

                   2   memory chip, in 2022, YMTC has been selected to supply 3D NAND flash memories to companies

                   3   located and headquartered in this judicial district. In addition, YMTC was actively engaged in

                   4   discussions with numerous potential customers and technical partners located in the Northern

                   5   District of California in the years leading up to 2022.

                   6    Micron Is Threatened By YMTC And Enlists Defendants To Spread Lies About YMTC And
                                                          Its Products
                   7

                   8          26.     Micron is a global manufacturer and supplier of memory components and devices

                   9   for use in consumer and enterprise products, systems, and services, including 3D NAND. While

               10      Micron started developing 3D NAND before YMTC was founded in 2016, by 2022, industry

               11      publications recognized that YMTC “is now the leader in 3D NAND flash,” having “leap-frogged

               12      Micron.”16 Industry insiders predicted that “YMTC would be the uncontested Flash technology

               13      leader before 2030,” concluding that “[w]hat YMTC has accomplished has been nothing short of

               14      amazing.”17

               15             27.     Not content to compete fairly in the marketplace and threatened by the loss of

               16      business to YMTC, Micron decided to take a different approach. As reported by Bloomberg,

               17      Micron funded China Tech Threat—run by Defendants—to engage in advocacy “aligned with [its]

               18      corporate interests.”18   While China Tech Threat “presents as a standalone organization,”

               19      according to Bloomberg, it engages in “‘astroturfing,’ the technique of disguising corporate

               20      messaging as grassroots advocacy.”19 Beginning in 2022 and continuing to this day, Defendants

               21      have engaged in “astroturfing” to broadcast and spread false yet devastating lies about YMTC and

               22      its products through China Tech Threat, which ultimately benefit Micron’s commercial position.

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                          https://www.techinsights.com/disruptive-event/ymtc-232l-tlc-3d-nand.
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               27         https://www.techinsights.com/disruptive-event/ymtc-232l-tlc-3d-nand.
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                          See Ex. 1.
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                          See Ex. 1.
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                   1        Defendants, Through China Tech Threat, Spread Lies About YMTC And Its Products,
                                                      Inuring To Micron’s Benefit
                   2

                   3           28.      On June 8, 2022, Defendants published a report titled Silicon Sellout: How Apple’s

                   4   Partnership with Chinese Military Chip Maker YMTC Threatens National Security (the “CTT

                   5   Report”) authored by Defendant Roslyn Layton, on the China Tech Threat website. Prior to when

                   6   she started the China Tech Threat website, Defendant Roslyn Layton had not written about China

                   7   or the semiconductor industry. The portion of the website on which the CTT Report appeared (and

                   8   continues to appear) is titled “China’s Army to Infiltrate iPhones with YMTC Chips,” complete

                   9   with a graphic falsely suggesting that the presence of a YMTC memory chip in a mobile device is

               10      akin to Chinese military personnel residing within the device, as shown below.

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               17              29.      Defendants have since widely disseminated this defamatory and libelous CTT

               18      Report, including on Twitter. For example, the CTT Report makes the fabricated assertion that

               19      “YMTC chips equipped with spyware and installed on Apple devices could funnel collected data

               20      back to Beijing.”20 In a section titled “Risk #1: National Security – The Battlefield Control

               21      Switch,” the report claims that YMTC memories could be “intentionally compromised with rogue

               22      features.”21 It states that the memories could include “built-in and concealed vulnerabilities” that

               23      could be “exploited months or years later to disrupt performance or exfiltrate data from a system

               24      containing the compromised chip.”22 Remarkably, the only “support” cited by the report for this

               25      misinformation is “Ghost Fleet: A Novel of the Next World War”—a work of fiction.23 Despite

               26      20
                          Ex. 2 at 9.
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               27         Ex. 2 at 8.
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                          Ex. 2 at 8.
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                          Ex. 2 at 8.
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                   1   their falsity, readers would understand Defendants’ statements as meaning that YMTC’s memories

                   2   can be controlled from China, spy on American consumers, and transmit user information back to

                   3   China.24 But as Defendants themselves know and acknowledge, YMTC designs and manufactures

                   4   memories. Memories are simply arrays that store bits of either “0s” or “1s”. Memories—YMTC’s

                   5   or otherwise—cannot execute code and lack the basic components necessary to wirelessly transmit

                   6   information or be controlled remotely, i.e., antennas, modems, RF processors.

                   7           30.      Defendants undeniably know this.        Strand Consult holds itself out as a

                   8   “consultancy with a strong focus on the Telecom industry,” with “25 years of experience” and

                   9   “regarded as one of the leading authorities on technologies[.]” Its Executive Vice President and

               10      author of the CTT Report, Defendant Roslyn Layton is a self-proclaimed expert on “telecom

               11      network innovation” and “network security.” Defendants themselves distinguish between chips

               12      that form the “brain” of an electronic device and memories, which merely store bits, further

               13      underscoring their knowledge of the falsity of their statements about YMTC’s memories25 Given

               14      Defendants’ expertise in telecommunications, China Tech Threat’s lies about YMTC’s memories

               15      were made without support and with knowledge of their falsity or, at a minimum, reckless

               16      disregard for the truth.

               17              31.      Readers of the Defendants’ misinformation, including customers and potential

               18      customers of YMTC would readily understand them to be disparaging statements about YMTC

               19      and its products—including as creating national security risks, supporting Chinese surveillance of

               20      the American public, and taking business away from American companies.26

               21              32.      That is not all. The front page of the report refers to YMTC as “Chinese Military

               22      Chip Maker YMTC”—a verifiably false characterization repeated on every single page of the

               23      report.27 YMTC is not owned or controlled by the Chinese military. YMTC has never supplied

               24      its technology or products for any military use. And YMTC has never been directed by any entity

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               26      24
                          Ex. 2 at 9.
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               27         Ex. 2 at 5.
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                          Ex. 2 at 2.
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                          Ex. 2.
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                   1   to supply its technology or products for military use. YMTC’s memories have never been qualified

                   2   by any military, Chinese or otherwise. Defendants know all this. As YMTC’s public website has

                   3   repeatedly affirmed, “YMTC provides products and services for commercial and civil customers’

                   4   usage only”28 and “YMTC provides products and services exclusively for commercial and civil

                   5   usage only.”29 There is no factual basis to claim otherwise. Yet by spreading these falsehoods,

                   6   Defendants attempt to paint YMTC as a threat to U.S. security interests and use of its products as

                   7   creating a security risk. And that is how readers would understand those lies. In fact, the CTT

                   8   Report includes an entire section that purportedly “details technological risks to users’ security

                   9   and privacy” resulting from the use of YMTC’s memories.30

               10             33.     Defendants were aware that their statements lack support in fact. To give off the

               11      appearance that its assertions have factual support, the CTT Report cites an article purportedly

               12      published by Forbes. But buried in the end notes of the CTT Report is a citation showing that the

               13      Forbes article was in fact authored by Defendant Roslyn Layton—an author of the CTT Report

               14      and then-principal of China Tech Threat. Defendants thus deliberately created an echo chamber

               15      for its defamatory and libelous statements, reinforcing their lack of merit.

               16             34.     In addition to promoting lies about YMTC, the CTT Report is replete with

               17      statements inuring to Micron’s benefit. For example, the report highlights that “Idaho-based

               18      Micron” is “[t]he only American company” leading memory manufacturing, and repeatedly calls

               19      on “Apple [to] … source memory chips” from other companies, starting with Micron.31 On

               20      information and belief, Defendants made the defamatory and libelous statements about YMTC to

               21      advance Micron’s improper corporate agenda to stifle competition and undermine YMTC’s

               22      credibility among U.S. consumers. Indeed, Micron—more than any other American company—

               23      stands to benefit immensely from YMTC losing sales and customers.

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               26      28
                          https://www.ymtc.com/en/entenotice/56.html.
                       29
               27         https://www.ymtc.com/cn/entenotice/40.html.
                       30
                          Ex. 2 at 3.
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                       31
                          Ex. 2 at 2, 6, 12.
                                                                                                      COMPLAINT & DEMAND
ATTORNEYS AT LAW
 SAN FRANCISCO                                                           11                                FOR JURY TRIAL
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                   1                          YMTC Has Suffered Significant Harm From Defendants’ Lies

                   2             35.     Defendants’ “astroturfing campaign” had its intended effects. Defendants’ goal

                   3   was to interfere with YMTC’s business relationships in the United States (and specifically, in

                   4   California) and to persuade U.S. companies to refrain from entering into transactions with YMTC

                   5   for its products.32 The reputation and goodwill of YMTC and its U.S. subsidiary in this judicial

                   6   district, as well as the memories that they sell, have been damaged. So too have YMTC’s

                   7   relationships with customers, prospective customers, and technical partners located and/or

                   8   headquartered in this judicial district. In fact, YMTC lost opportunities with numerous prospective

                   9   customers and technical partners in the fall of 2022, including those in this judicial district, shortly

               10      after Defendants published the defamatory and libelous CTT Report.

               11                36.     YMTC has further incurred expenses in hiring a team of public relations consultants

               12      to respond to and correct Defendants’ campaign of misinformation, including to develop a

               13      proactive communication strategy in view of the false statements made by Defendants through

               14      China Tech Threat and the CTT Report.

               15                37.     Defendants have acted with malice, malicious intent, and with intent to cause the

               16      foregoing harm to YMTC, including, on information and belief, to further the interests of its

               17      corporate backers, including Micron for the reasons discussed above.

               18                                           FIRST CAUSE OF ACTION

               19                                       Trade Libel (Against All Defendants)

               20                38.     YMTC repeats and realleges paragraphs 1 through 37 above as if fully set forth

               21      herein.

               22                39.     Defendants made false, disparaging, and defamatory statements about YMTC’s

               23      products, as alleged herein, and published these statements in writing to unprivileged third parties.

               24      These statements were clearly and necessarily understood to have disparaged the quality of

               25      YMTC’s 3D NAND memories.

               26                40.     The statements about YMTC’s 3D NAND memories had a natural and probable

               27      defamatory effect on the reader or listener without the necessity of explanatory matter.

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                            Ex. 2 at 2, 12.
                                                                                                       COMPLAINT & DEMAND
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                   1             41.   Defendants knew it was foreseeable that the defamatory statements about YMTC’s

                   2   3D NAND memories would be repeated by others. Defendants, as the originators, are liable for

                   3   each repetition of the defamatory matter by others.

                   4             42.   Defendants’ defamatory statements about YMTC’s 3D NAND memories caused

                   5   substantial harm to YMTC, including, without limitation, monetary loss from harm to YMTC’s

                   6   and its products’ reputation and goodwill, interference with and damage to YMTC’s relationships

                   7   with its customers and potential customers, fees paid to consultants, increased cost to YMTC,

                   8   attorneys’ fees and costs, and lost executive time. YMTC has suffered special damages and direct

                   9   financial harm, at least in the form of loss of business, lost profits, and lost investments. YMTC

               10      has also paid fees to consultants, including in connection with developing a proactive

               11      communication strategy in view of the false statements made by Defendants through China Tech

               12      Threat.     YMTC’s financial harm was a direct result of third parties acting in reliance on

               13      Defendants’ statements, and Defendants’ conduct was a substantial factor in causing YMTC harm.

               14                43.   YMTC is entitled to injunctive relief restraining Defendants from committing

               15      further trade libel.

               16                44.   Defendants made these negative defamatory statements about YMTC’s 3D NAND

               17      memories with the intent and import that the statements were assertions of fact and not merely

               18      opinion. Defendants intended and knew that others might act in reliance on its statements, causing

               19      YMTC financial loss.

               20                45.   Defendants made these negative defamatory statements about YMTC’s 3D NAND

               21      memories with knowledge of their falsity and/or with reckless disregard for the truth or falsity

               22      thereof.

               23                46.   Defendants knew such statements disparaged the quality of YMTC’s 3D NAND

               24      memories and intended that these statements cause YMTC pecuniary loss.

               25                47.   Defendants made the defamatory statements about YMTC’s 3D NAND memories

               26      with malice, malicious intent, and with intent to cause the foregoing harm to YMTC. Accordingly,

               27      YMTC is entitled to, and should be awarded, punitive damages.

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                                                                                                   COMPLAINT & DEMAND
ATTORNEYS AT LAW
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                   1                                       SECOND CAUSE OF ACTION

                   2              Violation of Cal. Bus. & Prof. Code § 17200 et seq. (Against All Defendants)

                   3             48.       YMTC repeats and realleges paragraphs 1 through 47 above as if fully set forth

                   4   herein.

                   5             49.       Defendants’ defamatory statements about YMTC’s 3D NAND memories caused

                   6   substantial harm to YMTC, including, without limitation, monetary loss from harm to YMTC’s

                   7   reputation and goodwill, interference with and damage to YMTC’s relationships with its customers

                   8   and potential customers, fees paid to consultants, increased cost to YMTC, and lost executive time.

                   9   The statements also undermine legitimate competition and inure to Micron’s benefit, as the CTT

               10      Report repeatedly calls for “Apple [to] … source memory chips” from Micron.33 YMTC has

               11      suffered special damages and direct financial harm, at least in the form of loss of business, lost

               12      profits, and lost investments. YMTC has also paid fees to consultants, including in connection

               13      with developing a proactive communication strategy in view of the false statements made by

               14      Defendants through China Tech Threat. YMTC’s financial harm was a direct result of third parties

               15      acting in reliance on Defendants’ statements, and Defendants’ conduct was a substantial factor in

               16      causing YMTC harm.

               17                50.       California’s Unfair Competition Law (“UCL”) prohibits any person from engaging

               18      in unfair competition in the form of “any unlawful, unfair, or fraudulent business act or practice[.].

               19      Cal. Bus & Prof. Code § 17200. Defendants are “persons” within the meaning of California

               20      Business and Professions Code § 17201.

               21                51.       The UCL allows “a person who has suffered injury in fact and has lost money or

               22      property” to prosecute a civil action for violation of the UCL. Cal. Bus. & Prof. Code § 17204.

               23                52.       Defendants’ business acts and practices, as alleged herein, including its public

               24      misrepresentations, are unlawful within the meaning of California’s UCL” because, among other

               25      reasons, the conduct constitutes trade libel and defamation. As such, Defendants’ acts constitute

               26      an unlawful business practice within the meaning of California Business and Professions Code §

               27      17200.

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                            Ex. 2 at 12.
                                                                                                      COMPLAINT & DEMAND
ATTORNEYS AT LAW
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                   1          53.     Defendants’ business acts and practices, as alleged herein, were targeted at a

                   2   California company, targeted at California audiences within the State of California, and intended

                   3   to cause harm within the state of California.

                   4          54.     YMTC has suffered and will continue to suffer harm as the direct and proximate

                   5   result of Defendants’ unfair acts and practices.

                   6          55.     Unless enjoined by this Court, Defendants’ ongoing and improper conduct will

                   7   continue, and YMTC will be further harmed. Absent injunctive relief, YMTC has no means by

                   8   which to control the publication and distribution of Defendants’ false and misleading statements

                   9   or assertions. YMTC is thus entitled to injunctive relief prohibiting Defendants from continuing

               10      such acts of unfair competition. Accordingly, pursuant to California Business and Professions

               11      Code § 17203, YMTC seeks an order of this Court enjoining Defendants from continuing to engage

               12      in unlawful business practices and any other act prohibited by law, including those set forth in the

               13      Complaint.

               14                                          PRAYER FOR RELIEF

               15             WHEREFORE, YMTC respectfully requests that the Court render the following relief:

               16             1.      Grant judgment in favor of YMTC and against Defendants;

               17             2.      Grant all appropriate injunctive relief;

               18             3.      Award YMTC an appropriate amount in monetary damages as determined at trial,

               19      including general, compensatory punitive, special, and exemplary damages, against Defendants,

               20      and including pre- and post-judgment interest;

               21             4.      Grant YMTC such other relief as is just and appropriate.

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                                                                                                    COMPLAINT & DEMAND
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                   1                               DEMAND FOR JURY TRIAL

                   2         YMTC hereby demands a trial by jury.

                   3   Dated: June 7, 2024                          LATHAM & WATKINS LLP
                   4
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               15                                                        Yangtze Memory Technologies
                                                                         Company, Ltd. and Yangtze Memory
               16                                                        Technologies, Inc.
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